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UNITED STATES DISTRICT COURT CLERKSOFFICE

EASTERN DISTRICT OF MICHIGAN Eeg DISTRICT COURT
. ERN MICHIGAN

 

- United States of America,

Plaintiff,
Criminal No, 19-cr-20024
V.
Hon. Gershwin A. Drain
Naveen Prathipati,

Defendant.

 

DEFENDANT’S ACKNOWLEDGMENT
OF INDICTMENT

 

I, Naveen Prathipati, defendant in this case, hereby acknowledge that I have
received a copy of the Indictment before entering my plea and that I have read it
and understand its contents.

I know that if I am convicted or plead guilty, I may be sentenced as follows:

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Count One: Up to 5 years imprisonment and a maximum fine of $250,000.

She.

 

Naveen Prathipaty
Defendant
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ACKNOWLEDGMENT OF DEFENSE COUNSEL

I acknowledge that Iam counsel for defendant and that I have received a copy
of the Standing Order for Discovery and Inspection which requires all pre-trial

motions to be filed within twenty (20) days of me ft.

Counsel for Defendant

Dated: 02. 4H /\4
